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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES )
INNOVATIONS, LLC.            )
                             )
      Plaintiff,             )                        Case No: 2:15-cv-01644
                             )
vs.                          )                        PATENT CASE
                             )
U.S. CELLULAR CORPORATION    )
D/B/A U.S. CELLULAR          )
                             )
      Defendant.             )


    NOTICE OF VOLUNTARY DISMISSALWITHOUT PREJUDICE UNDER RULE
         41(a)(1)(A)(i) OF THE FEDERAL RULES OF CIVIL PROCEDURE


       PLEASE TAKE NOTICE THAT Plaintiff Rothschild Connected Devices Innovations,

LLC, pursuant to Rule 4l(a)(l)(A)(i) of the Federal Rules of Civil Procedure, hereby voluntarily

dismisses its Complaint against Defendant U.S. Cellular Corporation D/B/A U.S. Cellular (U.S.

Cellular) in Rothschild Connected Devices Innovations, LLC v. U.S. Cellular Corporation D/B/A

U.S. Cellular E.D. Tex. Case No. 2:15-CV-01644), without prejudice. In accordance with Rule

41(a)(1)(A)(i), Rothschild states that this notice has been filed prior to service by U.S. Cellular of

an answer or motion to dismiss.
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Dated: October 8, 2015                         Respectfully submitted,


                                               /s/Jay Johnson
                                               JAY JOHNSON
                                               State Bar No. 24067322
                                               BRAD KIZZIA
                                               State Bar No. 11547550
                                               ANTHONY RICCIARDELLI
                                               State Bar No. 24070493
                                               KIZZIA JOHNSON, PLLC
                                               750 N. St. Paul Street, Suite 1320
                                               Dallas, Texas 75201
                                               (214) 613-3350
                                               Fax: (214) 613-3330
                                               jay@kjpllc.com
                                               bkizzia@kjpllc.com
                                               anthony@brownfoxlaw.com

                                               ATTORNEYS FOR PLAINTIFF



                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
October 8, 2015.

                                               /s/Jay Johnson
                                               Jay Johnson
